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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                                   No. 1:18-CR-226

                      Plaintiff,
                                                            Hon. Robert J. Jonker
               v.                                           Chief United States District Judge

NING XI,

                      Defendant.
                                               /

                                   ORDER OF DISMISSAL

       The United States having filed a Motion to Dismiss pursuant to Rule 48(a) of the Federal

Rules of Criminal Procedure, and the Court being informed of the basis for the motion, by leave

of Court,

       It is hereby ORDERED that the Indictment (R.40, PageID.69) is DISMISSED with

prejudice for the reason stated in the motion. Mr. Xi is EXONERATED on his bond (R. 13),

and all property securing it is released. The Notice of Lis Pendens (R. 79) and the Post-

Indictment Restraining Order (R. 80) are DISSOLVED.




  July 11, 2019
                                                    /s/ Robert J. Jonker
Date
                                                   ROBERT J. JONKER
                                                   Chief United States District Judge
